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                    UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF TEXAS FORT WORTH DIVISON
                    CIVIL ACTION NO. 4:20-CV-00007-P

 SELINA MARIE RAMIREZ,                         §
 Individually and as Independent               §
 Administrator of, and on behalf of, the       §
 ESTATE OF GABRIEL EDUARDO                     §
 OLIVAS and the heirs-at-law of                §
 GABRIEL EDUARDO OLIVAS, and as                §
 Parent, guardian, and next friend of and      §
 For female minor S.M.O.; and                  §
 GABRIEL ANTHONY OLIVAS,                       §              NOTICE OF APPEAL
 individually,                                 §
                                               §
                  Plaintiffs,                  §
                                               §
 v.                                            §
                                               §
 CITY OF ARLINGTON, TEXAS,                     §
 JEREMIAS GUADARRAMA, and                      §
 EBONY N. JEFFERSON,                           §
                                               §
                 Defendants.                   §

DEFENDANTS JEFFERSON’S AND GUADARRAMA’S JOINT NOTICE OF APPEAL

       Notice is hereby given that Defendants Ebony Jefferson and Jeremias Guadarrama

(“Defendants”), in the above named case hereby appeal to the United States Court of Appeals for

the Fifth Circuit from the Order (hereinafter, “Order”) entered in this action on January 7, 2020

(Doc. 40), denying Defendant Ebony N. Jefferson’s Motion to Dismiss First Amended Plaintiffs’

Original Complaint and Brief in Support and Defendant Guadarrama’s Renewed Motion to

Dismiss, and Brief (collectively, the “Motions to Dismiss”) (Doc. 21 and 25); and from the

Scheduling Order entered January 7, 2020 (Doc. 41).

       Because the Order (Doc. 40) denied the Defendants’ Motions to Dismiss based upon

qualified immunity, it is an order subject to immediate review. See Mitchell v. Forsyth, 427 U.S.

511, 530, 105 S. Ct 2806, 86 L.ED. 2d 411 (1985). Likewise, the Scheduling Order (Doc. 41)


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does not order limited discovery that recognizes Defendants’ qualified immunity defense

protections. See Patel v. Tex. Tech Univ., 727 Fed. Appx. 94 (5th Cir. 2018). Such decisions are

appealable “final decisions” within the meaning of 28 U.S.C. § 1291. See Ashcroft v. Iqbal, 556

U.S. 662, 671-72 (2009); Behrens v. Pelletier, 516 U.S. 299, 305, 307, 311 (1996) (quoting

Mitchell, 472 U.S. at 530, and quoting Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 546

(1949)); Nixon v. Fitzgerald, 457 U.S. 731, 742 (1982); Atteberry v. Nocona General Hospital,

430 F.3d 245, 251-52 (5th Cir. 2005).

       The Defendants are entitled to an interlocutory appeal to review the purely legal question

of whether the First Amended Plaintiffs’ Original Complaint (Doc. 19) pleaded “enough facts to

state a claim to relief that it is plausible on its face.” Bell Atl. Corp v. Twombly, 550 U.S. 544, 570

(2007). A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       The first issue on the interlocutory appeal, then, will be whether the Plaintiffs stated a

legally cognizable claim that is plausible in light of the Defendants’ qualified immunity. See

Burnside v. Kaelin. 773 F.3d 624 (5th Cir. 2014) (considering interlocutory appeal from the denial

of qualified immunity at the motion to dismiss stage). “A district court’s denial of a defense of

qualified immunity is immediately appealable and once an appeal is filed, the district court is

divested of its jurisdiction to proceed against that defendant.” Carty v. Rodriguez, 211 Fed. Appx.

292, 293 (5th Cir. 2006). See also Patel v. Tex. Tech Univ., 727 Fed. Appx. 94 (5th Cir. 2018).

Because there are no pending claims against the Defendants that are not subject to the defense of

qualified immunity asserted by the Defendants in their respective motions to dismiss, the district

court is divested of jurisdiction over Plaintiffs’ claims against the Defendants pending the




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interlocutory appeal.

       The second issue on the interlocutory appeal relates to the district court’s entry of a

scheduling order which failed to limit or narrow discovery, as a preliminary matter, to those issues

which bear upon the Defendants’ qualified immunity defenses. It is well established that

Defendants’ qualified immunity defenses are not simply immunity from liability, but immunity

from suit. See Lion Boulos v. Wilson, 834 F.2d 504, 507-08 (5th Cir. 1987). As such, the district

court’s Scheduling Order fails to narrowly tailor discovery to those facts needed to rule on the

immunity claim. Id.

                                                     Respectfully Submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served upon all counsel

of record via the Court’s ECF system contemporaneously with its filing.


                                                    /s/ Scott D. Levine
                                                    Scott D. Levine




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